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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

YANGTZE MEMORY TECHNOLOGIES, INC.,
2953 Bunker Hill Lane, Suite 206, Santa Clara,
California 95054,

and

YANGTZE MEMORY TECHNOLOGIES CO., LTD.,
No. 88 Weilai 3rd Road, East Lake High-tech
Development Zone, Wuhan, Hubei, 430205 China,

             Plaintiffs,                               No. 25-cv-1795

      v.

MICRON TECHNOLOGY, INC.
8000 South Federal Way, Boise, Idaho 83716,

and

DCI GROUP AZ, L.L.C,
2000 K Street NW, Washington, D.C. 20006,

             Defendants.



                                     COMPLAINT




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        Plaintiffs Yangtze Memory Technologies Company, Ltd., and Yangtze Memory

Technologies, Inc. (collectively, “YMTC” or “Plaintiffs”), bring this lawsuit against Defendants

DCI Group AZ, LLC (“DCI”) and Micron Technology, Inc. (“Micron”) (collectively,

“Defendants”). YMTC’s Complaint is based on the following allegations, which YMTC makes

on personal information as to its own acts and on information and belief as to all others, based on
its reasonable investigation.

                                 NATURE OF THE ACTION

        1.     Flash memory chips are the means by which smart phones, TVs, cloud computing
centers, and other devices store massive amounts of data, even after the device is turned off.

They are not the processors of that data. They are the repositories where the data resides.

Without them, the technology age we enjoy would not exist. In 2023, flash memory product

sales in the United States exceeded $75 billion annually. They are the subject of intense design

development and market competition.

        2.     Although a newcomer, YMTC is one of the world’s leading developers and

manufacturers of 3D NAND flash memories. Defendant Micron is one of YMTC’s primary

competitors. But for several years, Micron has lagged behind YMTC in innovation and product

performance. Unable to compete fairly, Micron has worked in concert with Defendant DCI to

erect a sophisticated and unlawful “astroturfing” campaign—a deceptive marketing scheme—to

damage YMTC’s reputation and business for their own profit.

        3.     This scheme seeks to destroy YMTC’s reputation and business by spreading
xenophobic lies that YMTC’s market-leading flash memory chips are capable of being used to

spy on millions of Americans who use the devices in which the chips are embedded, at the behest

of the Chinese Communist Party or its People’s Liberation Army.
        4.     Defendants’ statements are false and unlawful. And Defendants know that. They

know, for example, that their accusations cannot be true because a memory chip is incapable of

transmitting its data to another device. And the fact that Plaintiff YMTC was founded in China

does not mean that it is a tool of the Communist Party or the Chinese military. Defendants know

that, too.

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       5.     Defendants’ lies about YMTC and its products have inflicted substantial damage

by disrupting YMTC’s business relationships and harming its reputation and goodwill. That was

Defendants’ objective. This sham marketing scheme must be stopped, and Defendants must

compensate YMTC for the harm they have caused.

       6.     YMTC has developed and patented technologies that enable the production of
better flash memories, having more capacity and a lower per-bit cost. YMTC’s innovations have

not gone unnoticed. At the 2018 Flash Memory Summit, YMTC received the award for the

Most Innovative Flash Memory Start-up Company, was recognized as one of “the most creative
and ambitious startup companies,” and was “applauded” for “becoming a market disruptor and

champion of the storage industry.” Since then, YMTC has continued to innovate. At the 2022

Flash Memory Summit, YMTC received the award for Most Innovative Memory Technology for

YMTC’s Xtacking® 3.0 3D NAND Architecture.

       7.     No longer an upstart, YMTC has become a key player in the global 3D NAND

market. In November 2022, TechInsights, which analyzes and tracks the flash memory market,

described YMTC’s accomplishments as “nothing short of amazing”—YMTC “is now the leader

in 3D NAND flash,” having “leap-frogged Micron,” another major player in the 3D NAND

space.1 Micron is threatened by YMTC’s ascension.

       8.     Saddled with outdated and lesser-performing products, Defendant Micron has

responded to YMTC’s surge with a sham marketing scheme to spread lies about YMTC and its

products. As Bloomberg Businessweek reported in an article titled Dell, Micron Backed a
Group Raising Alarms on Rivals’ China Ties, Defendant Micron funded a website called “China

Tech Threat” or “CTT,” run by Defendant DCI. See Exhibit 1.2

       9.     Although the Micron-funded China Tech Threat purports to be focused on policy,
according to Bloomberg, China Tech Threat is engaged in “astroturfing,” the practice of cleverly

1
  YMTC’s Xtacking 3.0, first to 200+ layers, TechInsights, https://techinsights.com/disruptive-
event/ymtc-232l-tlc-3d-nand.
2 Brody Ford, Dell, Micron Backed a Group Raising Alarms on Rivals’ China Ties, Bloomberg
Businessweek (Jan. 25, 2024), https://bloomberg.com/news/articles/2024-01-25/dell-micron-
backed-a-group-criticizing-chinese-rivals.
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disguising the corporate messaging of businesses (such as Micron), as grassroots advocacy. See

Ex. 1. The Bloomberg article further identified China Tech Threat as a “project of DCI Group,”

a public affairs and consulting firm with a documented history of “astroturfing.”

       10.     In an interview concerning Bloomberg’s reporting, John Strand, founder and CEO

of Strand Consult (a firm involved with China Tech Threat), admitted that “[o]n the content on
China Tech Threat, we have made money,” as reported by the non-partisan journalism website

NOTUS. Exhibit 2 at 3.3 On information and belief, Defendants Micron and DCI paid

individuals and entities associated with China Tech Threat, including Strand Consult and Roslyn
Layton, to disseminate favorable messages about Micron’s products and disparaging messages

about YMTC’s competing products.

       11.     The Micron-funded and DCI-directed China Tech Threat disinformation

campaign extended beyond YMTC. As Bloomberg reported, China Tech Threat also targeted

Lenovo, another Chinese technology company, at the behest of Dell, falsely claiming that

Lenovo’s sponsorship of a video game tournament at a U.S. Navy base constituted “infiltration”

of military facilities. See Ex. 1 at 5. This demonstrates China Tech Threat’s, and by extension

DCI’s and Micron’s, willingness to disseminate false and misleading information to advance the

interests of its corporate sponsors.

       12.     China Tech Threat began its Micron-funded and DCI-directed disinformation

campaign against YMTC as early as September 2020, publishing outlandish and demonstrably

false statements. For example, China Tech Threat falsely claimed that YMTC was linked to
“criminal activity, including a Social Security spoofing scam, identity theft and cyber extortion.”

Exhibit 3.4 YMTC denies such scurrilous allegations and there is no basis to support that

fiction; China Tech Threat made it up with no citation. See id. China Tech Threat’s website also


3
  Byron Tau, Are America’s Tech Companies Fanning the Flames of Anti-China Sentiment?,
NOTUS (July 29, 2024), https://www.notus.org/technology/america-tech-companies-anti-china-
sentiment.
4  As YMTC Booms, China Aims to Dominate Flash Memory Industry, China Tech Threat (Jan.
4, 2021), https://chinatechthreat.com/as-ymtc-booms-china-aims-to-dominate-flash-memory-
industry
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includes a page titled “China’s Army to Infiltrate iPhones with YMTC Chips” dedicated to

spreading falsehoods inuring to Micron’s commercial benefit.

       13.     On June 8, 2022, China Tech Threat, under the direction of DCI and Micron,

published a report titled Silicon Sellout: How Apple’s Partnership with Chinese Military Chip

Maker YMTC Threatens National Security. Exhibit 4 (CTT Report). The report repeatedly
implores “Apple [to] voluntarily end its partnership with YMTC” and “source its chips from

existing suppliers like Micron[.]” Id. at 4. It warns that “the Apple-YMTC deal will likely

hasten the exit of an existing memory chip maker from a democratic country” and “could put at
least one major non-Chinese semiconductor producer out of business”—highlighting that “[t]he

only American company” leading the memory market is “the Idaho-based Micron, which makes

both DRAM and NAND chips.” Id. at 5-6, 8.

       14.     The CTT Report also uniquely airs Micron’s grievances against its competitors.

For example, the CTT Report accuses a Chinese chipmaker of “hir[ing] away Micron engineers

and encourag[ing] them to steal Micron trade secrets.” Ex. 4 at 7. The allegation of encouraging

theft is false. The Report does not discuss allegations of theft of any other chipmaker’s

intellectual property. This demonstrates the report’s true purpose as a tool for advancing

Micron’s commercial agenda.

       15.     The CTT Report’s central claim—that “YMTC chips equipped with spyware and

installed on Apple devices could funnel collected data back to Beijing” and “exfiltrate data,”

compromising “iPhone users’ security and privacy”—is demonstrably false. Ex. 4 at 4, 10-11.
YMTC’s memory devices store bits of data (0s and 1s); they cannot execute code to “funnel” or

“exfiltrate” data. YMTC’s memory devices store “bits,” zeroes and ones. Memory devices—

YMTC’s or others—cannot execute code to “funnel” or “exfiltrate” data to Beijing or anywhere
else. Memory chips lack the most basic components necessary for remote control and wireless

communications—e.g., antennas, modems, RF processors, and more. And YMTC would have

absolutely no ability to manufacture a chip in such a way as to clandestinely utilize those parts of

a mobile device without the device manufacturer knowing.



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       16.     And Defendants know this. Defendant Micron is a leading semiconductor

manufacturer with deep technical expertise. Defendant DCI presents itself as a sophisticated

public affairs firm and has worked extensively with technology and telecommunications

companies, including Micron, understanding that memory chips store data, not execute code

such as spyware. With this collective experience, Defendants know, or should know, that their
statements about YMTC’s products are false. Their expertise renders their dissemination of false

information even more egregious.

       17.     China Tech Threat’s reports and statements directly benefited Micron, both
commercially and reputationally. Micron faced pricing pressure and the need to improve

manufacturing efficiency due to YMTC’s emergence as a competitor. With a limited number of

major chip manufacturers globally, a failed deal for YMTC materially increased Micron’s

likelihood of securing those deals, a dynamic that played out in the market.

       18.     Micron’s objective was clear: eliminate YMTC as a competitor. China Tech

Threat’s false and misleading statements were part of an ongoing scheme orchestrated by

Defendants DCI and Micron, and potentially others, to damage YMTC and protect Micron’s

market share. As Bloomberg reports, “[w]hile CTT presents as a standalone organization, it is

actually a project of DCI Group, a public affairs and consulting firm with a history of

‘astroturfing,’ the technique of disguising corporate messaging as grassroots advocacy, according

to people familiar with the matter and documents viewed by Bloomberg Businessweek.” Ex. 1 at

2-3. On information and belief, Micron is a client of DCI. See id.
       19.     The falsehoods Defendants DCI and Micron have spread through China Tech

Threat have harmed YMTC’s reputation and business relationships. They have also hurt U.S.

consumers. 3D NAND flash memory is vital technology for many of the digital products that
consumers have come to depend upon and enjoy, such as smartphones, laptops, and tablet

computers, as well as for the data centers and enterprise storage solutions in which 3D NAND is

used. Competition and innovation in the NAND memory space benefit consumers, as

competition and innovation lead to better products at better prices. Attempts to stifle

competition and hinder innovation do neither.

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       20.     YMTC respectfully asks this Court to put a stop to Defendants’ illegal campaign

and conspiracy of spreading misinformation about YMTC and YMTC’s products through China

Tech Threat and elsewhere and compensate YMTC for the harm caused by Defendants’ lies.

                                        THE PARTIES

       21.     Plaintiff Yangtze Memory Technologies Company, Ltd. (“YMTC Ltd.”) is a
leading developer and manufacturer of advanced 3D NAND flash memory and related storage

technologies. YMTC Ltd. is headquartered in Wuhan, China, and actively competes in the

global semiconductor industry, including throughout the United States. YMTC Ltd. pioneered
and commercialized Xtacking® architecture, a disruptive technology that materially advanced

memory chip performance and efficiency, positioning YMTC Ltd. as a direct competitive threat

to incumbent industry participants, including Defendant Micron Technology, Inc.

       22.     Plaintiff Yangtze Memory Technologies, Inc. (“YMT Inc.”) is a wholly owned

subsidiary of YMTC Ltd., incorporated under California law with its principal place of business

at 2953 Bunker Hill Lane, Suite 206, Santa Clara, California 95054. YMT Inc. manages

YMTC’s U.S. market entry, business development, and customer engagement activities. YMT

Inc. competed with Micron for major U.S. opportunities before Defendants’ coordinated false

advertising campaign impaired YMTC’s commercial standing.

       23.     Defendant DCI Group AZ, L.L.C. (“DCI”) is an Arizona limited liability

company with its principal place of business at 2000 K Street NW, Washington, D.C. 20006.

DCI is a public affairs and strategic communications firm specializing in sophisticated
“astroturfing” operations—covertly funded corporate advocacy disguised as grassroots or

independent commentary. DCI launders commercial messaging through fabricated organizations

and deceptive online platforms to influence policy, markets, and public opinion while obscuring
the identities of its corporate sponsors. According to publicly available Arizona Corporations

Commission records, all DCI members are citizens of states other than California or China. See

Exhibit 5. Operating from its D.C. headquarters, DCI conceived, structured, managed, staffed,

authored, and executed the campaign at issue, including launching and operating the “China



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Tech Threat” website and affiliated media used to disseminate false statements about YMTC’s

products, business practices, and competitive position.

       24.     Defendant Micron Technology, Inc. (“Micron”) is a Delaware corporation with its

principal place of business at 8000 South Federal Way, Boise, Idaho 83716. Micron is a global

manufacturer and supplier of memory and storage solutions, including 3D NAND flash memory,
and is a direct and primary competitor of YMTC in the global marketplace. On information and

belief, in response to YMTC’s rapid technological progress and increasing market share, Micron

orchestrated, funded, and supervised the false advertising campaign alleged herein, targeting
YMTC’s reputation and commercial relationships in the United States. On information and

belief, Micron maintains a permanent office at 25 Massachusetts Avenue NW, Washington, D.C.

20001, from which it manages government engagement, strategic communications, competitive

intelligence, and public affairs. Micron’s D.C. office collaborated with DCI’s co-located

operations to plan, fund, direct, and oversee the challenged campaign, using DCI as its agent and

instrumentality to execute a coordinated effort to damage YMTC’s competitive standing while

shielding Micron’s own direct involvement.

                                 JURISDICTION AND VENUE

       25.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because

Plaintiffs’ claims arise under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), which

creates a federal cause of action for injuries resulting from false or misleading representations in

commercial advertising or promotion.
       26.     Jurisdiction is also proper under 28 U.S.C. § 1332(a), as complete diversity of

citizenship exists: YMTC Ltd. is a citizen of China; YMT Inc. is a citizen of California; DCI is a

citizen of Arizona (and the District of Columbia, where it maintains its principal place of
business) whose members are not citizens of California or China; and Micron is a citizen of

Delaware and Idaho. The amount in controversy exceeds $75,000, exclusive of interest and

costs, and Plaintiffs’ damages are alleged to be in the millions of dollars.

       27.     Defendant DCI is subject to general personal jurisdiction in this District under

D.C. Code § 13-422, as it is headquartered and maintains its executive and operational nerve

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center in Washington, D.C. DCI is independently subject to specific personal jurisdiction under

D.C. Code § 13-423(a)(1) and (a)(3) because the false advertising campaign was conceived,

planned, managed, and executed from DCI’s D.C. offices using D.C.-based personnel and

infrastructure. DCI transacted business in the District and committed the challenged acts within

the District, and Plaintiffs’ claims arise directly from these forum-related contacts.
       28.     Defendant Micron is subject to personal jurisdiction in this District both through

its systematic and continuous D.C. business activities and the specific forum-related conduct

giving rise to this action. On information and belief, Micron maintains a permanent Washington,
D.C. office and staff, cultivates government relationships and commercial opportunities in the

District, and competes directly for U.S. customers from its D.C. base. On information and belief,

Micron directed, funded, and oversaw the false advertising campaign through its D.C. office by

hiring DCI to execute the campaign from DCI’s D.C. headquarters. The campaign targeted

District-based policymakers, agencies, media organizations, and commercial decision-makers.

Micron’s D.C.-based commercial activities are directly and causally linked to Plaintiffs’ injuries.

Further, Micron is subject to conspiracy jurisdiction based on DCI’s D.C. contacts because

Micron and DCI acted in concert in the planning and execution of the campaign. These facts

satisfy D.C. Code § 13-423(a)(1) (transacting business) and (a)(4) (causing injury by acts outside

the District while regularly conducting business within the District).

       29.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because DCI resides

here by virtue of its principal place of business in the District. Venue is independently proper
under 28 U.S.C. § 1391(b)(2) because a substantial part of the events and omissions giving rise

to Plaintiffs’ claims—including the conception, planning, direction, and execution of the

challenged advertising campaign—occurred in this District. The District of Columbia was the
operational center of the conspiracy, the site of key in-person meetings, and the locus of ongoing

coordination, content creation, and dissemination. The false advertising was directed at and

amplified through District-based policymakers, agencies, and media, with the resulting harm to

YMTC’s reputation, business relationships, and market access concentrated in this forum. No

other district has a greater connection to the operative facts underlying this action.

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                      ALLEGATIONS COMMON TO ALL CLAIMS

    YMTC Is Recognized As One Of The Most Innovative 3D NAND Memory Companies

       30.    YMTC is a fully integrated device manufacturer specializing in the design,

development, and production of advanced memory products for global markets. YMTC employs

more than 7,400 professionals worldwide, including over 5,600 engineers, 1,700 research and
development specialists, and more than 300 PhD-level experts, reflecting YMTC’s sustained

institutional commitment to technical innovation and excellence.

       31.    YMTC’s investment in 3D NAND flash memory technology has resulted in a
series of major innovations. YMTC has successfully designed and manufactured 3D NAND

flash memory chips that set new benchmarks for bit density, input/output performance, and

storage capacity. These technical achievements have been consistently recognized by industry

experts and analysts and earned widespread recognition throughout the semiconductor industry.

       32.    YMTC’s leadership is underscored by repeated honors from the Flash Memory

Summit, the world’s leading conference for flash memory and storage technologies. The

Summit, widely regarded as the premier global industry event, recognized YMTC in 2018 with

the “Best of Show” award for “Most Innovative Flash Memory Start-up Company,” describing

YMTC as one of “the most creative and ambitious startup companies” and highlighting its

potential to become “a market disruptor and champion of the storage industry.” In 2022, the

Summit awarded YMTC’s Xtacking ® 3.0 3D NAND Architecture the “Most Innovative Memory

Technology” award, further cementing its reputation for industry-leading innovation.
       33.    Independent industry analysis further confirms YMTC’s technological leadership.

TechInsights, a leading authority in semiconductor analysis, identified YMTC’s 3D NAND chip

as “the world’s most advanced 3D NAND memory chip in a consumer device,” featuring “the
highest bit density seen in a commercially available NAND product.” 5

       34.    As a result of its technological advancements, in 2022 YMTC was selected to

supply its advanced memory chips to a leading global designer and manufacturer of consumer

5
   See China Does It Again: A NAND Memory Market First, TechInsights,
https://www.techinsights.com/blog/china-does-it-again-nand-memory-market-first.
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computing products (“YMTC OEM Customer #1”), headquartered in the United States.

Defendants were fully aware of this critical business relationship, including the customer’s

United States headquarters, the presence of YMTC’s sales personnel in the United States, and the

negotiation and performance of the agreement within the United States.

       35.     Throughout this period, YMTC also maintained active commercial and technical
discussions with other prospective customers and partners in the United States (“Prospective

YMTC OEMs”). These sustained business activities underscore YMTC’s substantial and

continuous presence in the U.S. market—commercial opportunities that Defendants deliberately
targeted and sought to disrupt.

      Micron, Threatened By YMTC’s Rise, Orchestrates A False Advertising Campaign

       36.     Defendant Micron is a global manufacturer and supplier of memory products for

consumer and enterprise products, systems, and services, including 3D NAND. Although

Micron started developing 3D NAND before YMTC was founded in 2016, by 2022, industry

publications recognized that YMTC was by then “the leader in 3D NAND flash,” having “leap-

frogged Micron.”6 Industry insiders predicted that “YMTC would be the uncontested Flash

technology leader before 2030,” concluding that “[w]hat YMTC has accomplished has been

nothing short of amazing.” See id.

       59.     Micron, facing a direct challenge to its market share and profitability from

YMTC’s rapid ascent, resorted to a deceptive disinformation campaign rather than fair

competition. Instead of innovating and competing on the merits of its products, Micron sought
to undermine YMTC’s competitive standing through a sustained program of false and misleading

advertising, product disparagement, and deceptive promotional activities.

       37.     As reported by Bloomberg, Micron funded China Tech Threat—jointly run by its
agents Defendant DCI and Strand Consult—to engage in advocacy “align[ed] with [its] corporate

interests.” See Ex. 1 at 2. Although China Tech Threat presented itself to the public and

policymakers as an independent, objective research and advocacy organization focused on

6
   YMTC’s Xtacking 3.0, First to 200+ Layers, TechInsights (Nov. 11, 2022),
https://www.techinsights.com/disruptive-event/ymtc-232l-tlc-3d-nand.
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national security policy, Bloomberg’s investigation established that CTT was, in fact, an

“astroturfing” operation: a covert vehicle for disguising Micron’s commercial messaging and

self-interested attacks on competitors as grassroots advocacy or neutral policy analysis. See

Ex. 1 at 2.

        38.    Micron, in coordination with Defendant DCI and, on information and belief, other
undisclosed actors, used the China Tech Threat platform to disseminate a barrage of false and

misleading claims about YMTC and its products to the relevant purchasing public, policymakers,

and media. This deceptive campaign involved disparaging YMTC to directly benefit Micron
commercially. It also overtly promoted Micron as a preferable U.S.-based memory manufacturer

and explicitly urged YMTC’s customers and potential customers, including those in the United

States, to abandon YMTC and favor Micron’s products over YMTC’s technologically superior

offerings.

               The Structure And Mechanics Of Defendants’ Deceptive Scheme

        60.    Defendants executed a coordinated and deliberately concealed scheme to

disseminate false and misleading information about YMTC across multiple channels—including

the China Tech Threat website, policy briefs, press releases, and affiliated reports. This

campaign began as early as 2020 and was managed by DCI, which secretly created, authored,

and supplied content for CTT on Micron’s behalf and under Micron’s direction. For example, a

July 13, 2021 CTT press release, which falsely alleged YMTC’s ties to the Chinese military, was

ostensibly authored by Roslyn Layton but was, in fact, drafted by DCI employees with funding
from Micron. See Exhibit 6 at 2.

        39.    The non-partisan journalism website NOTUS corroborated these findings,

reporting that “DCI Group employees were included in the metadata of the documents embedded
on the [China Tech Threat] website over the past several years.” Ex. 2 at 3. NOTUS also noted

that some documents listing DCI employees as the author “have since been taken down [from the

China Tech Threat website] and replaced with new documents without metadata, but the older

versions have been captured by the Internet Archive’s Wayback Machine.” Id.



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       40.     The promotional materials that Defendant DCI authored include statements that

mirror the false and misleading statements in the CTT Report. For example, the report titled

Secure Equipment: The Whole of Government Effort to Restrict Dangerous Devices, contains,

without any supporting citation, that “YMTC chips can be enabled with kill switches which can

cause a device and/or network shutdown.” See Exhibit 7 at 5. It further claims that
vulnerabilities in these chips “could be exploited months or years later to disrupt or exfiltrate

data from a system containing the compromised chip.” See id. These unsubstantiated assertions

mirror the CTT Report’s false allegations of spyware and data exfiltration to Beijing. See Ex. 4
at 11. The latter statement is reprinted in the CTT Report verbatim.

       41.     On its face, the Secure Equipment report attributes authorship to China Tech

Threat and provides no indication of Defendant DCI’s involvement. Nowhere in the visible text

of the document is there any mention of DCI or its employees. Only through forensic analysis of

the document’s metadata was YMTC able to uncover that DCI employee Emily Sullivan was its

true author, as shown in the screenshot below:




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       42.     Micron and DCI actively concealed their roles in creating and disseminating the

false statements about YMTC. Despite reasonable diligence, YMTC did not have any reason to

suspect Micron and DCI’s involvement until Bloomberg published its report in January 2024,

revealing for the first time that China Tech Threat was not a standalone organization but rather

engaged in “astroturfing.” This fact was confirmed when the non-partisan journalism website
NOTUS published its investigation in July 2024, uncovering that “at least five DCI Group

employees were included in the metadata of the documents embedded on the [China Tech

Threat] website over the past several years.”
       43.     Micron and DCI’s concealment included: (a) operating behind China Tech

Threat’s facade while deliberately avoiding any public connection to the website or its content,

(b) allowing China Tech Threat to present itself as an independent organization while secretly

authoring its content, (c) attempting to destroy evidence of its involvement by removing

metadata from documents on China Tech Threat’s website after the Bloomberg and NOTUS

articles exposed DCI’s role, and (d) taking extraordinary measures to scrub documents

containing metadata that would have revealed DCI’s role in creating the false and misleading

content.

       44.     On information and belief, Defendants actively concealed Micron’s funding and

control of the China Tech Threat campaign. Defendants’ CTT Report and other publications did

not disclose Micron’s involvement or DCI’s role in creating the content. Defendants’ intended

this concealment to create the false impression of independent research and objective reporting.
Only through the independent investigative reporting by Bloomberg and NOTUS, followed by

YMTC’s forensic analysis of archived web content and metadata, was YMTC able to uncover

the full extent of DCI’s involvement in creating and disseminating the false statements.
       45.     Defendants’ scheme to create a “front” website surreptitiously backed by a

YMTC competitor is an established DCI tactic. The firm notoriously operated a seemingly

independent website called Tech Central Station that voiced policy opinions. In reality, DCI




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operated the website to promote its corporate clients’ goods, services, and commercial activities.7

In an earlier report, Bloomberg Businessweek reported that a DCI unit maintains ties “with

dozens of nonprofits and advocacy groups, regularly contributing money and then requesting

their assistance on projects.”8 One former DCI employee has stated that “staffers, policy experts,

and even journalists were fed lines” by DCI. Id.
    Defendants Spread Lies About YMTC And Its Products, Inuring To Micron’s Benefit

       46.     Operating through the CTT front group, Defendants published and widely

disseminated a portfolio of falsehoods designed to manufacture a toxic narrative depicting
YMTC as a national security threat. The campaign maliciously and falsely linked YMTC’s

standard commercial memory products to military espionage, criminal conduct, and technically

impossible malicious capabilities.

       47.     For example, Defendants’ publications baselessly asserted that “YMTC is

associated with criminal activity, including a Social Security spoofing scam, identity theft, and

cyber extortion,” despite offering no credible evidence or reference to any legitimate law

enforcement or investigative finding. Similarly, on the CTT website, Defendants maintained a

prominent section titled “China’s Army to Infiltrate iPhones with YMTC Chips,” 9 relying on

inflammatory language and visuals to falsely suggest that the mere use of YMTC chips in

consumer devices constitutes a direct espionage threat.




7
 See Nick Confessore, How James Glassman reinvented journalism—as lobbying, Wash.
Monthly (Dec. 2, 2003), available at https://washingtonmonthly.com/2003/12/02/meet-the-press.
8
  Zachary Mider & Ben Elgin, How Hedge Funds (Secretly) Get Their Way in Washington,
Bloomberg Businessweek (Jan. 25, 2018), https://www.bloomberg.com/news/features/2018-01-
25/how-hedge-funds-secretly-get-their-way-in-washington.
9
   See China’s Army to Infiltrate iPhones with YMTC Chips, China Tech Threat,
https://chinatechthreat.com/chinas-army-to-infiltrate-iphones-with-ymtc-chips.
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       48.     The centerpiece of this disinformation campaign was the June 8, 2022, CTT

Report, Silicon Sellout: How Apple’s Partnership with Chinese Military Chip Maker YMTC

Threatens National Security (the “CTT Report”). Ex. 4. The CTT Report contains demonstrably
false and misleading statements. For example, it falsely states that “YMTC chips equipped with

spyware and installed on Apple devices could funnel collected data back to Beijing.” Ex. 4

at 11. It also falsely states that “built-in and concealed vulnerabilities” in YMTC chips could be

“exploited months or years later to disrupt performance or exfiltrate data from a system

containing the compromised chip.” Id. at 10. Further, under the heading “Risk #1: National

Security – The Battlefield Control Switch,” the CTT Report misleadingly claims that YMTC
chips could have a “kill switch” that “could be enabled or programmed to shut down remotely by

an unauthorized Chinese government actor.” Id. And it even deceptively claims that these

purported vulnerabilities “would not be detected during manufacturing.” Id. Remarkably, the

only “support” that the report cites for this lie is a work of fiction titled “Ghost Fleet: A Novel of

the Next World War.” Id.

       49.     These statements are false and misleading. YMTC designs and manufactures
memory chips—arrays storing data (0s and 1s). Memory chips, including YMTC’s, lack the

components for wireless transmission or remote control (antennas, modems, RF processors).
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YMTC’s NAND chips cannot execute code; they simply store data. But the ordinary reader in

the relevant audience, as well as YMTC’s customers and potential customers, would understand

these statements to mean that YMTC’s memory chips are subject to remote control from China,

capable of spying on American consumers, and designed to transmit user information to China.

See Ex. 4 at 9, 10. These statements disparage YMTC and its products, creating a false
impression of national security risks and Chinese surveillance of the American public. Id. at 4.

                Defendants Knew Their Statements Were False And Misleading

        50.     Defendants knew, or at a minimum, acted with reckless disregard for the truth,
that their statements about YMTC’s products possessing spyware, kill switches, or other

malicious data exfiltration capabilities were false and technically infeasible.

        51.     Defendant Micron, as a leading global semiconductor manufacturer with decades

of experience in memory chip technology, possesses deep and sophisticated technical expertise.

Micron unquestionably understands the fundamental architecture and limitations of NAND flash

memory chips and knows that such chips cannot perform the espionage functions it falsely

attributed to YMTC’s products.

        52.     Defendant DCI, which presents itself as a sophisticated public affairs and strategic

communications firm with extensive experience working for technology and telecommunications

companies (including Micron), likewise knew, or was willfully blind to, the technical

impossibility of the claims it was manufacturing and disseminating. DCI’s role in crafting and

promoting these falsehoods, despite the readily available technical facts, demonstrates a
deliberate choice to deceive.

        53.     The collective technical expertise of Micron and the sophistication of DCI render

their coordinated dissemination of this false information particularly egregious. They were not
merely mistaken; they were either knowingly propagating lies or acting with a profound and

reckless indifference to the truth for commercial gain. The statements in the CTT Report and

other CTT publications, given their technical absurdity, demonstrate, at the very least, a reckless

disregard for the truth.



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                The Commercial Nature And Intent of Defendants’ Statements

       54.     The CTT Report and other publications and statements that orchestrated by

Micron and DCI were not good-faith contributions to public policy discourse but were instead

commercial advertising and promotion designed to directly benefit Micron at YMTC’s expense.

       55.     Micron, as YMTC’s principal competitor, was the direct beneficiary of these
unlawful tactics. In August 2022, Micron’s CFO, Mark Murphy, acknowledged that YMTC had

“made progress” and “got some engagements with customers now,” stating this was a “concern

for the NAND space.”10 The CTT campaign—funded, directed, and orchestrated by Micron—
sought to eliminate this competitive “concern” not through legitimate market conduct, but

through a calculated campaign of falsehoods designed to remove YMTC from consideration and

divert business to Micron.

       56.     The CTT Report, “Silicon Sellout,” explicitly and repeatedly promoted Micron as

a preferred, American alternative to YMTC. For example, the report highlights “Idaho-based

Micron” as the “only American company” leading in memory manufacturing and directly

implores Apple to “source its chips from existing suppliers like Micron” or “source memory

chips from non-Chinese chipmakers like Micron.” Ex. 4 at 4, 8, 14. These are unambiguous

commercial solicitations aimed at influencing purchasing decisions away from YMTC and

towards Micron.

       57.     Micron’s objective in funding and directing this campaign through DCI and China

Tech Threat was to eliminate or severely cripple YMTC as a competitor in the lucrative 3D
NAND flash memory market, thereby protecting and enhancing Micron’s own market share and

profitability. The principal objective of the Defendants’ campaign was to directly disrupt

YMTC’s commercial relationships and dissuade existing and potential customers from
transacting with YMTC. This was not primarily an effort to shape public policy; rather, it was a

targeted attack on a business rival. The CTT Report’s overt commercial solicitation and its



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   Alan Patterson, Micron’s Mixed CapEx Plans Square Up, Analyst Says, EE Times (Aug. 17,
2022), https://www.eetimes.com/microns-mixed-capex-plans-square-up-analyst-says/.
                                               18
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direct address to specific companies underscore the anti-competitive intent and market-distorting

purpose of Defendants’ conduct.

               Defendants’ Unlawful Conduct Has Significantly Harmed YMTC

        58.    Although advocacy on behalf of a corporation is not per se unlawful, Defendants’

conduct far exceeded permissible bounds. Defendants executed a coordinated campaign of false
advertising, intentionally designed to injure YMTC’s business and to confer unlawful

competitive advantages on Micron. Purporting to operate as independent actors, Defendants

systematically disseminated false, deceptive, and misleading statements about YMTC and its
products, targeting YMTC’s customers and commercial partners to promote Micron’s interests.

        59.     The campaign’s principal objective was to disrupt YMTC’s commercial

relationships and dissuade existing and potential customers from transacting with YMTC, rather

than to shape public policy. The CTT Report—a core instrumentality of the scheme—explicitly

directed U.S. companies to terminate business with YMTC and to source memory chips from

non-Chinese suppliers, including Micron. Ex. 4 at 14. This overt commercial solicitation

underscores the anti-competitive intent and market-distorting effects of Defendants’ conduct.

        60.    Defendants’ false and misleading statements caused YMTC to lose significant

business opportunities and derailed ongoing negotiations with major customers and technical

partners. These disruptions resulted in the loss of millions of dollars in sales to leading computer

and consumer electronics manufacturers in the United States and abroad. The campaign

damaged YMTC’s business relationships and materially impaired its market standing in the
United States. Defendants’ conduct severely harmed the reputation and goodwill of YMTC and

its U.S. subsidiary, causing deterioration in relationships with key customers and partners. Ex. 4

at 4, 14.
        61.    For example, YMTC lost business with a leading original equipment

manufacturer (“OEM Customer #1”). YMTC had completed this OEM’s qualification processes

and was positioned to supply advanced 3D NAND flash memory chips for flagship products.

Industry data confirmed YMTC’s pricing was approximately 20% below competitors, and OEM

Customer #1 was considering sourcing up to 40% of its global NAND requirements from

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YMTC. After Defendants intensified their disinformation campaign in mid-2022—specifically

targeting this relationship with fabricated security allegations—OEM Customer #1 suspended

and ultimately abandoned plans to use YMTC chips as of October 2022. This single lost

opportunity alone accounted for hundreds of millions of dollars in lost revenue.

       62.     As a direct and foreseeable result, YMTC has suffered substantial financial harm,
including lost sales, forfeited market opportunities, and increased mitigation costs. The

magnitude of the harm compelled YMTC to implement a 10% reduction in workforce in early

2023. Beyond immediate financial injury, Defendants’ conduct has inflicted lasting damage on
YMTC’s reputation and commercial standing across the technology sector. The campaign’s

false narrative portraying YMTC as an untrustworthy and criminally-linked enterprise generated

widespread suspicion among market participants, materially impairing YMTC’s ability to

compete on the merits worldwide.

                                 FIRST CLAIM FOR RELIEF

    (False Advertising, Product Disparagement, and Unfair Competition in Violation of

                    Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

                        (Directly Against Defendants Micron and DCI)

       63.     YMTC repeats and realleges paragraphs 1 through 62 above as if set forth herein.

       64.     Defendants engaged in an extensive, coordinated, and commercial campaign of

false advertising and product disparagement specifically targeting YMTC and its 3D NAND

flash memory products. This campaign involved the dissemination of false and misleading
statements in interstate trade or commerce through various channels and mediums, including

through the China Tech Threat website, articles published on China Tech Threat and elsewhere,

press releases distributed to media outlets and industry publications, social media posts on
platforms such as Twitter and LinkedIn, presentations at industry conferences and events, and

direct communications with YMTC’s existing and prospective customers.

       65.     This “astroturfing” disinformation campaign, orchestrated for the benefit of

Micron, YMTC’s direct competitor in the 3D NAND flash memory market, was designed to

undermine YMTC’s competitive standing and divert sales to Micron. Defendants’ unlawful

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conduct was: (a) commercial in nature, promoting Micron’s competing 3D NAND flash memory

products while disparaging YMTC’s; (b) designed to influence purchasing decisions of OEMs,

businesses incorporating memory chips, and ultimate consumers by diverting sales from YMTC

to Micron; and (c) disseminated broadly to the relevant purchasing public through the above-

mentioned channels, ensuring wide exposure to the false and misleading claims.
       66.     As part of this campaign, Defendants made demonstrably false and misleading

statements of fact in their commercial advertising and promotion. These statements were

intended to exploit xenophobic anxieties and prejudice against YMTC to benefit Micron, a U.S.-
based company. These statements, some of which were literally false and others misleading

though literally true, included, among others:

               (a)    The false and/or misleading statement: “YMTC is associated with criminal

       activity, including a Social Security spoofing scam, identity theft, and cyber extortion,”

       published by Defendants on January 4, 2021, on the China Tech Threat website. Ex. 3.

               (b)    The false and/or misleading statement: “YMTC chips equipped with

       spyware and installed on Apple devices could funnel collected data back to Beijing,”

       published by Defendants on June 8, 2022, in the CTT Report. Ex. 4.

               (c)    The false and/or misleading statement: “YMTC chips… present the

       possibility that malicious technology… from the Chinese military could be introduced to

       Apple end-users,” published by Defendants on June 8, 2022, in the CTT Report. Ex. 4.

               (d)    The false and/or misleading statement: “YMTC chips could be…
       intentionally compromised with rogue features… These built-in and concealed

       vulnerabilities would not be detected during manufacturing. They could be exploited …

       to disrupt performance or exfiltrate data,” published by Defendants on June 8, 2022, in
       the CTT Report. Ex. 4.

               (e)    The false and/or misleading statement: “Electronics with embedded chips

       are enabled with a ‘kill switch’… Such features, under Chinese military production,

       could be enabled… to shut down remotely by an unauthorized Chinese government

       actor,” published by Defendants on June 8, 2022, in the CTT Report. Ex. 4. Defendants’

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       statement misleadingly suggested that YMTC’s memory chips could execute code and

       activate a “kill switch” in devices. This is false because YMTC’s memory chips, unlike

       microprocessors, do not execute code. Defendants further fueled this misconception by

       citing an article about cyberattacks on military hardware involving microprocessors,

       using the term “chip” to imply that YMTC’s products could similarly be compromised.
       67.     These and other false and misleading statements, disseminated through the

channels described above, falsely portrayed YMTC and its products as: (a) posing national

security risks; (b) containing spyware and “kill switches”; (c) being vulnerable to manipulation
by the Chinese government; and (d) being associated with criminal activity. These

representations were either literally false or, though literally true, misleading due to omissions

and implications.

       68.     Defendants knew, or recklessly disregarded, the falsity or misleading nature of

these statements. They further compounded the deception by concealing Micron’s funding and

direction of the disinformation campaign, creating a false impression of objectivity and

independent analysis, when in reality, the China Tech Threat publications and statements

constituted coordinated and paid-for commercial advertising and promotion by DCI for Micron.

       69.     These statements deceived, or had the tendency to deceive, a substantial segment

of the relevant purchasing public, or those making purchasing decisions, including YMTC’s

customers and prospective customers, OEMs, businesses, and consumer end-users, who rely on

or likely will rely on accurate information about technology products when making purchasing
decisions. Defendants knew, or reasonably should have known, that their statements were false

or misleading and intended to deceive these audiences into believing that YMTC and its products

posed a security risk, were inferior in quality to Micron’s products, or were otherwise
undesirable.

       70.     The deceptive statements were material and likely to influence purchasing

decisions. Consumers and businesses, particularly in the technology sector, are sensitive to

national security concerns and the potential for data breaches and cyberattacks. The false and

misleading claims of spyware, Chinese government control, and criminal activity that

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Defendants disseminated were designed to exploit these sensitivities and cause deception among

the relevant purchasing public. This deception directly influenced and were likely to influence

the purchasing decisions of these audiences, causing them to refrain from purchasing products

with YMTC chips and from doing business with YMTC, thereby directly and foreseeably

harming YMTC’s sales, revenue, and market share.
       71.     As a direct and proximate result of Defendants’ false and misleading advertising

and promotion, YMTC suffered substantial injury, including harm to YMTC’s reputation and

goodwill, resulting in lost sales, revenue, opportunities, and market share, as well as expenses
incurred to mitigate the harm caused by Defendants’ false statements. Defendants’ false

statements also directly harmed YMTC’s reputation and goodwill within the industry and among

consumers, making it more difficult for YMTC to compete effectively in the market, attract and

retain customers, secure investments, and recruit and retain employees. Defendants’ conduct

was a substantial factor in causing these harms to YMTC. Micron, as YMTC’s direct competitor

in the relevant market, directly and proximately benefited from this harm by capturing market

share, sales, and/or revenue that otherwise would have gone to YMTC.

       72.     Defendants’ conduct constitutes false advertising and unfair competition in

violation of the Lanham Act, 15 U.S.C. § 1125(a).

       73.     YMTC is entitled to recover from Defendants all damages directly and

proximately caused by Defendants’ unlawful conduct in an amount to be determined at trial,

including for actual damages, lost profits, damages to reputation and goodwill, corrective
advertising costs, and disgorgement of Defendants’ profits attributable to false advertising.

YMTC also seeks prejudgment interest, costs, and attorneys’ fees in accordance with governing

law, especially given the exceptional nature of Defendants’ unlawful conduct.
       74.     YMTC also has no adequate remedy at law and therefore seeks injunctive relief to

prevent Defendants from repeating or republishing these false and misleading statements, as well

as corrective advertising to mitigate the harm caused by Defendants’ unlawful conduct.




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                                SECOND CLAIM FOR RELIEF

    (False Advertising, Product Disparagement, and Unfair Competition in Violation of

                    Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

                    (Contributorily Against Defendants Micron and DCI)

       75.     YMTC repeats and realleges paragraphs 1 through 62 above as if set forth herein.
       76.     Defendants Micron and DCI are contributorily liable for the false advertising and

unfair competition described herein. Micron, by knowingly funding, directing, and instigating

the false advertising campaign, and DCI, by knowingly creating, managing, and disseminating
the false advertising campaign through the China Tech Threat platform at Micron’s direction,

both materially contributed to the primary violations of the Lanham Act.

       77.     Defendant Micron, with actual or constructive knowledge of the false and

misleading nature of the statements being disseminated about YMTC and its products, and with

the unlawful purpose of harming YMTC and benefiting itself commercially, intentionally

induced and materially contributed to the false advertising campaign by, inter alia: (a) providing

the funding for the CTT platform and its associated activities; (b) directing Defendant DCI to

create and disseminate false and misleading statements about YMTC; and (c) orchestrating the

overall strategy of the astroturfing campaign designed to deceive the relevant purchasing public.

       78.     Defendant DCI, with actual or constructive knowledge that the statements it was

creating and disseminating were false and misleading, and that they were part of an unlawful

false advertising campaign, supplied essential services and instrumentalities to the CTT platform.
These services were provided for the purpose of disseminating false and misleading statements

regarding YMTC and its products in interstate and international commerce for Micron’s

commercial advantage, including statements such as: (a) that YMTC was linked to “criminal
activity, including a Social Security spoofing scam, identity theft and cyber extortion”; (b) that

“YMTC chips equipped with spyware and installed on Apple devices could funnel collected data

back to Beijing” and could be used to “exfiltrate data”; (c) that YMTC chips can be “enabled

with kill switches which can cause a device and/or network shutdown”; (d) that YMTC chips

could contain undisclosed vulnerabilities exploitable by the Chinese government or military that

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would not be detected during manufacturing; and (e) implying that YMTC chips facilitate

Chinese military infiltration of consumer electronic devices.

       79.     These essential services and instrumentalities provided by DCI included, but were

not limited to, campaign strategy development, content creation (including DCI employees

authoring or causing the authoring of the aforementioned false statements published by CTT),
website operation and management for the CTT platform, and media outreach and dissemination

efforts, all of which were managed and executed from DCI’s Washington, D.C. offices.

       80.     The false and misleading statements of fact for which Defendants Micron and
DCI are contributorily liable, by inducing, funding, directing, creating, and/or disseminating

them, include, among others:

               (a)    The false and/or misleading statement: “YMTC is associated with criminal

       activity, including a Social Security spoofing scam, identity theft, and cyber extortion,”

       published by Defendants on January 4, 2021, on the China Tech Threat website. Ex. 3.

               (b)    The false and/or misleading statement: “YMTC chips equipped with

       spyware and installed on Apple devices could funnel collected data back to Beijing,”

       published by Defendants on June 8, 2022, in the CTT Report. Ex. 4.

               (c)    The false and/or misleading statement: “YMTC chips… present the

       possibility that malicious technology… from the Chinese military could be introduced to

       Apple end-users,” published by Defendants on June 8, 2022, in the CTT Report. Ex. 4.

               (d)    The false and/or misleading statement: “YMTC chips could be…
       intentionally compromised with rogue features… These built-in and concealed

       vulnerabilities would not be detected during manufacturing. They could be exploited …

       to disrupt performance or exfiltrate data,” published by Defendants on June 8, 2022, in
       the CTT Report. Ex. 4.

               (e)    The false and/or misleading statement: “Electronics with embedded chips

       are enabled with a ‘kill switch’… Such features, under Chinese military production,

       could be enabled… to shut down remotely by an unauthorized Chinese government

       actor,” published by Defendants on June 8, 2022, in the CTT Report. Ex. 4. Defendants’

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       statement misleadingly suggested that YMTC’s memory chips could execute code and

       activate a “kill switch” in devices. This is false because YMTC’s memory chips, unlike

       microprocessors, do not execute code. Defendants further fueled this misconception by

       citing an article about cyberattacks on military hardware involving microprocessors,

       using the term “chip” to imply that YMTC’s products could similarly be compromised.
       81.     Defendant Micron knew or had reason to know that by funding and directing DCI

and the CTT platform to disseminate such false and misleading statements, it was inducing and

materially contributing to violations of the Lanham Act. Defendant DCI knew or had reason to
know that by creating, managing, and disseminating such false and misleading statements

through the CTT platform, it was materially contributing to violations of the Lanham Act. Both

Defendants actively concealed Micron’s funding and direction of the campaign and DCI’s

authorship, thereby enhancing the deceptive impact of the false advertising.

       82.     The false and misleading statements, to which Micron and DCI contributorily

caused or induced, deceived, or had the tendency to deceive, a substantial segment of the

relevant purchasing public, or those making purchasing decisions, including YMTC’s customers

and prospective customers, OEMs, businesses, and consumer end-users, who rely on accurate

information about technology products when making purchasing decisions. Defendants knew, or

reasonably should have known, that their statements were false or misleading and intended to

deceive these audiences into believing that YMTC and its products posed a security risk, were

inferior in quality to Micron’s products, or were otherwise undesirable.
       83.     The deceptive statements were material and likely to influence purchasing

decisions. Consumers and businesses, particularly in the technology sector, are sensitive to

national security concerns and the potential for data breaches and cyberattacks. The false and
misleading claims of spyware, Chinese government control, and criminal activity that

Defendants disseminated were designed to exploit these sensitivities and cause deception among

the relevant purchasing public. This deception directly influenced the purchasing decisions of

these audiences, causing them to refrain from purchasing products with YMTC chips and from



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doing business with YMTC, thereby directly and foreseeably harming YMTC’s sales, revenue,

and market share.

       84.     As a direct and proximate result of Defendants Micron’s and DCI’s knowing and

material contributions to, and inducement of, the false advertising campaign, including the

creation, funding, direction, and dissemination of false statements such as those detailed above,
YMTC has suffered substantial injury. This includes harm to YMTC’s reputation and goodwill,

resulting in lost sales, revenue, opportunities, and market share, as well as expenses incurred to

mitigate the harm caused by Defendants’ false statements. Defendants’ false statements also
directly harmed YMTC’s reputation and goodwill within the industry and among consumers,

making it more difficult for YMTC to compete effectively in the market, attract and retain

customers, secure investments, and recruit and retain employees. Defendants’ conduct was a

substantial factor in causing these harms to YMTC. Defendant Micron, as YMTC’s direct

competitor in the relevant market, directly and proximately benefited from this harm by

capturing market share, sales, and/or revenue that otherwise would have gone to YMTC.

       85.     Defendants caused the false statements to enter interstate commerce by way of

China Tech Threat’s website and other platforms in and affecting interstate commerce.

Defendants’ conduct constitutes false advertising, product disparagement, and unfair competition

in violation of the Lanham Act, 15 U.S.C. § 1125(a).

       86.     YMTC is entitled to recover from Defendants Micron and DCI, jointly and

severally, all damages directly and proximately caused by their unlawful contributory conduct, in
an amount to be determined at trial, including but not limited to actual damages, lost profits,

damages for injury to reputation and goodwill, costs of corrective advertising, and disgorgement

of Defendants’ profits attributable to their contributory false advertising. YMTC also seeks
prejudgment interest, costs of suit, and reasonable attorneys’ fees in accordance with governing

law, particularly given the willful and exceptional nature of Defendants’ unlawful conduct.

       87.     YMTC has no adequate remedy at law for the ongoing and future harm threatened

by Defendants’ contributory conduct. Therefore, YMTC seeks permanent injunctive relief to

prevent Defendants Micron and DCI, and all those acting in concert with them, from continuing

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to induce, fund, direct, create, or disseminate these or any other false and misleading statements

about YMTC or its products. YMTC also seeks an order requiring Defendants to issue

corrective advertising sufficient to mitigate the harm caused by their unlawful contributory

conduct.

                                    PRAYER FOR RELIEF
       WHEREFORE, YMTC respectfully requests that the Court render the following relief:

       1.      Grant judgment in favor of YMTC and against each Defendant;

       2.      Grant all appropriate injunctive relief, including corrective advertising;
       3.      Award YMTC an appropriate amount in monetary damages against Defendants as

determined at trial, including general, compensatory, special, and treble damages, and including

pre-judgment interest, in accordance with applicable law;

       4.      Award YMTC disgorgement of Defendants’ profits; and

       5.      Grant YMTC such other relief as is just and appropriate, including attorneys’ fees

and costs.




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Dated: June 6, 2025                   QUINN EMANUEL URQUHART &
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                            DEMAND FOR JURY TRIAL

      YMTC hereby demands a trial by jury.


Dated: June 6, 2025                          QUINN EMANUEL URQUHART &
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